Case 2:12-cv-14426-JEM Document 6 Entered on FLSD Docket 01/11/2013 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA




 KATHLEEN ERSKINE,

             Plaintiff,



 v.                                                Civil Action No. 2:12-cv-14426




 PALISADES COLLECTION, LLC; and
 DOE 1-5
         Defendants.



 ______________________________________


                                  NOTICE OF SETTLEMENT

        NOTICE IS HEREBY GIVEN that plaintiff Kathleen Erskine and defendant Palisades

  Collection,LLC have reached a settlement in the above-captioned case. The plaintiff will

 file a notice of voluntary dismissal with prejudice pursuant to Federal Rule of Civil Procedure

 41(a) once the settlement is fully consummated.




  Date: January 11, 2013                           /s/Brooke Terpening_______
                                                   BROOKE TERPENING, ESQ.
                                                   (FL Bar ID 59574)
                                                   Attorney for Plaintiff
                                                   Centennial Law Offices
                                                   9452 Telephone Rd. 156

 1
Case 2:12-cv-14426-JEM Document 6 Entered on FLSD Docket 01/11/2013 Page 2 of 3




                                       Ventura, CA. 93004
                                       (888)308-1119 ext. 130
                                       B.Terpening@centenniallawoffices.com




 2
Case 2:12-cv-14426-JEM Document 6 Entered on FLSD Docket 01/11/2013 Page 3 of 3




                                CERTIFICATE OF SERVICE

          I certify that on this date, January 11, 2013, I mailed a copy of the foregoing

 NOTICE OF SETTLEMENT, First Class U.S. Mail, to the following party:


 PALISADES COLLECTION, LLC
 210 SYLVAN AVE
 ENGLEWOOD CLIFFS NJ 07632


                                              s/Brooke Terpening_______
                                              BROOKE TERPENING, ESQ.
                                              (FL Bar ID 59574)
                                              Attorney for Plaintiff
                                              Centennial Law Offices
                                              9452 Telephone Rd. 156
                                             Ventura, CA. 93004
                                             (888)308-1119 ext. 130
                                             B.Terpening@centenniallawoffices.com




 3
